                                     Case 20-41455-mxm7                       Doc 467   Filed 04/20/22
                                                                                               FORM 1
                                                                                                         Entered 04/20/22 13:19:34                                           Desc Main
                                                                                      Document      Page  1 of 2
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                Page No:    1
                                                                                                       ASSET CASES

Case No.:                    20-41455-mxm7                                                                                                                   Trustee Name:                              Laurie Dahl Rea
Case Name:                   YUMA ENERGY, INC.                                                                                                               Date Filed (f) or Converted (c):           10/19/2020 (c)
For the Period Ending:       4/20/2022                                                                                                                       §341(a) Meeting Date:                      12/01/2020
                                                                                                                                                             Claims Bar Date:                           05/06/2021

                                 1                                               2                              3                                   4                         5                                         6

                        Asset Description                                     Petition/                 Estimated Net Value                     Property                 Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                (Value Determined by                     Abandoned                Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                          Trustee,                    OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       CASH & CASH EQUIVALENTS                                                         $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:      Asset determined by review of chapter 11 schedules, testimony at 341 meeting, and 1019 statement filed after conversion. This debtor had no funds in bank accounts as of conversion to
                  chapter 7.


               Trustee spoke with Kimberley Thomen in accounting and confirmed that this debtor had no cash or bank accounts at conversion.
2       DEPOSITS & PREPAYMENTS                                                  $0.00                                   $0.00                                                      $0.00                                            FA
Asset Notes:      Asset determined by review of chapter 11 schedules, testimony at 341 meeting, and 1019 statement filed after conversion.


                  No such assets existed at conversion.
3       ACCOUNTS RECEIVABLE LESS THAN 90                                             $1,600.00                             $1,600.00                                               $0.00                                            FA
        DAYS
Asset Notes:      Asset determined by review of chapter 11 schedules, testimony at 341 meeting, and 1019 statement filed after conversion.


               Per Tony Schnur at 341 meeting, this is a California franchise tax credit. In 2019 the company had a sub called Pyramid. That sub generated the credit. Money owed to Pyramid, not the
               debtor. Booked as an asset of Yuma Energy, Inc., but not really an asset of this estate per former CRO.
4       INVESTMENTS: THE YUMA COMPANIES                                        $574,491.00                            $574,491.00                                             $0.00                                                 FA
        INC. & DAVIS PETROL. ACQ. CORP
Asset Notes:      Asset determined by review of chapter 11 schedules, testimony at 341 meeting, and 1019 statement filed after conversion.


                  Per Tony Schnur this is equity of Yuma Co and Davis Petro. This value was booked as of December 2019.


                  Docket No. 134, 239, and 240 are schedules of former debtor, Davis Petroleum. The liabilities exceeded the debts as scheduled. The Davis case was dismissed because the company did not
                  have funds to operate, insure, or stop/avoid environmental damage. The assets included oil and gas interests that have been abandoned to the the states of Lousiana and Texas. Since the claims
                  exceed the value of assets, this investment has no value.


                 Docket No. 135, 237, and 238 are the schedules of The Yuma Companies (also a former chapter 7 debtor). The value of Yuma Companies is based on its ownership of the equity in Yuma
                 Energy and Production (a former debtor). Yuma E&P's liabilities exceeds its debts. It did not have the funds to operate, insure, or stop/avoid environmental damage. The case was dismissed
                 for that reason. Its oil and gas interests have been abandoned to the states. Since the claims exceed the value of assets, this investment has no value.
5       Refund of Credit on Account with Lockton                     (u)                  $0.00                             $10,339.35                                        $10,339.35                                            FA
        Companies
6       Potential D&O Cause of Action                             (u)                   $0.00                              Unknown                                                 $0.00                                    Unknown
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                                                                                      Document      Page  2 of 2
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Case Name:                   YUMA ENERGY, INC.                                                                                                            Date Filed (f) or Converted (c):            10/19/2020 (c)
For the Period Ending:       4/20/2022                                                                                                                    §341(a) Meeting Date:                       12/01/2020
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                                 1                                               2                              3                                4                         5                                         6

                        Asset Description                                     Petition/                  Estimated Net Value                 Property                 Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                 (Value Determined by                 Abandoned                Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                           Trustee,                OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

Asset Notes:      Lawsuit filed on April 13, 2022.


TOTALS (Excluding unknown value)                                                                                                                                                                    Gross Value of Remaining Assets
                                                                                 $576,091.00                           $586,430.35                                         $10,339.35                                       $0.00




    Major Activities affecting case closing:
     04/13/2022      D&O Complaint filed.
     04/12/2022      Expedited hearing on application to employ McCaffity. Granted.
     04/04/2022      Filed application to employ McCaffity.
     03/23/2022      Fishman Haygood sent declination letter re D&O suit.
     02/23/2022      Special counsel evaluating claims.
     12/22/2021      Special counsel evaluating D&O claim.
     12/22/2021      Sheldon Levy employed.
     10/27/2021      Filed application to employ Sheldon Levy. Sent request to IRS for latest tax returns.
     09/15/2021      Special counsel evaluating D&O claim.
     08/20/2021      Special counsel evaluating D&O claim.
     07/30/2021      Special counsel evaluating D&O claim.
     06/03/2021      Special counsel evaluating D&O claim.
     05/13/2021      No chapter 5 claims to pursue. See analysis in file.
     05/06/2021      Chapter 7 claims bar date.
     03/14/2021      Chapter 11 Admin Claim Bar Date per order at Docket # 411.
     01/25/2021      Special counsel evaluating D&O claim.
     01/18/2021      Based on 341 testimony, ch. 11 schedules and 1019 statement, this debtor's only asset appears to be a potential D&O-type claim. Investigating and evaluating claim. Reviewed SOFA at
                     139 and 241.
     12/07/2020      Order entered empoying Cavazos Hendricks as trustee's counsel. See Docket No. 397.
     12/04/2020      Order entered employing special counsel, Brent Barriere/Jason Burge, to pursue D&O type claims. See, Docket No. 395.
     11/13/2020      Special counsel evaluating D&O claim.


Initial Projected Date Of Final Report (TFR):           03/31/2021                           Current Projected Date Of Final Report (TFR):           09/30/2023                /s/ LAURIE DAHL REA
                                                                                                                                                                               LAURIE DAHL REA
